 FORM B9I (12/1/10)
                  UNITED STATES BANKRUPTCY COURT                                                             U.S. BANKRUPTCY COURT
                                                                                                              DISTRICT OF OREGON
                           District of Oregon                                                                        FILED

                       Notice of                                                                                   March 8, 2011

    Chapter 13 Bankruptcy Case, Meeting of Creditors,                                                       Clerk, U.S. Bankruptcy Court

        Deadlines, and Proposed Case Dismissal                                                                    BY jd DEPUTY

A Chapter 13 bankruptcy case concerning the debtor(s) named below was FILED ON 3/8/11. You may be a creditor of the debtor. This
notice lists important deadlines. You may want to consult an attorney to protect your rights. All documents filed in the case may be
inspected at the bankruptcy clerk's office.
                                        SEE REVERSE SIDE FOR IMPORTANT EXPLANATIONS
Debtor(s) (name(s) and address):                                                            Case Number:      11−31792−rld13
                                                                                            Last four digits of Social−Security or Individual
Gerald G. Monckton Jr                                                                       Taxpayer−ID(ITIN) No(s)./Complete EIN:
Agustina L. Monckton                                                                               xxx−xx−2600
                                                                                                   xxx−xx−7942
1730 SW 203rd Avenue                                                                        Debtor(s) Attorney:
Aloha, OR 97006                                                                                    TED A TROUTMAN
                                                                                                   16100 NW Cornell Rd #200
                                                                                                   Beaverton, OR 97006
                                                                                                   Telephone No.: (503) 292−6788
                                                                                            Trustee:
                                                                                                   Wayne Godare
                                                                                                   1300 SW 5th #1700
                                                                                                   Portland, OR 97201
                                                                                                   Telephone No.: (503) 972−6300

                                                        Meeting of Creditors
4/12/11 at 08:30 AM in CHAPTER 12/13 OFFICE, 1300 SW 5th Ave Fl 17, Portland, OR 97201
  (Note: NOT at Multnomah County Courthouse!)
   Deadlines − Documents must be received by the bankruptcy clerk's office by the following deadlines:
                           Deadline to File a Proof of Claim: (Note: Use form ENCLOSED with this Notice!!)
7/11/11 for all creditors, except for governmental units who must file within 180 days after the date relief ordered.
Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 60 days after the first date set for the
Meeting of Creditors.
Deadline to Object to Exemptions: 30 days after the conclusion of the Meeting of Creditors.
                                 Filing of Plan, HEARING ON CONFIRMATION OF PLAN
5/5/11 at 09:00 AM in US Bankruptcy Court, Courtroom #3, 1001 SW 5th Ave, 7th Floor, Portland, OR 97204.
    A Summary of the debtor's plan is either enclosed or will be separately mailed upon filing. Testimony will NOT be received.
                                           Creditors May Not Take Certain Actions
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request
the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.
                                             Notice of Proposed Dismissal of Case
YOU ARE NOTIFIED this case may be dismissed without further notice if either: (1) all plan payments are not current, or (2) the
debtor(s) fail to complete the Meeting of Creditors set above, or timely file any documents and/or make fee payments as ordered by the
court, unless within 21 days of the above "FILED" date either the debtor or trustee files a written objection to dismissal, setting forth
specific grounds, with the Clerk of Court and sends a copy to the nonfiling party (i.e., debtor or trustee).
                                                 Creditor with a Foreign Address
Please read the information under "Claims" on reverse.




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FORM B9I(12/1/10)                                         EXPLANATIONS
Filing of Chapter   A bankruptcy case under Chapter 13 of the Bankruptcy Code (Title 11, United States Code) has been filed in this
13 Bankruptcy       Court by the debtor(s) named on the front side, and an order for relief has been entered. Chapter 13 allows a
Case                debtor, with regular income and debts below a specified amount, to pay debts in full or in part over a period of
                    time pursuant to a plan. A plan is not effective unless confirmed by the bankruptcy court. Creditors will be given
                    notice in the event the case is dismissed or converted to another chapter of the Bankruptcy Code.
Objections to       Any creditor objecting to any provision of the debtor's plan, whose objections were not resolved at the Meeting of
Confirmation        Creditors, must personally appear at the confirmation hearing (see reverse side for date, time and location) and
                    present such objections or file detailed written objections with the court at least 3 business days before such
                    hearing. Filing a proof of claim rejecting the plan, or motion for relief from the automatic stay, will not be
                    considered an objection to the confirmation.
Creditors May Not Prohibited collection actions are listed in Bankruptcy Code §362 and §1301. Common examples of prohibited
Take Certain      actions include contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to
Actions           collect money or obtain property from the debtor; repossessing the debtor's property; starting or continuing
                  lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under certain circumstances, the
                  stay may be limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a
                  stay.
Meeting of          The Meeting of Creditors is scheduled for the date, time and location listed on the front side. The DEBTOR (both
Creditors           husband and wife in a joint case) must be present at the meeting to be questioned under oath by the trustee and
                    by creditors OR THIS CASE MAY BE DISMISSED! Important Notes: (1) This meeting is NOT held at the court;
                    and (2) Debtor must provide a photo ID (e.g., driver's license; federal, state, student or military ID; U.S. passport;
                    or resident alien card). Debtor must also provide proof of reported social security number (e.g., social security
                    card; medical insurance card; pay stub; W−2 form; IRS form 1099; or Social Security Admin. report). Original
                    photo IDs and other documents are required. Creditors are welcome to attend, but are not required to do so.
                    The meeting may be continued and concluded at a later date without further notice.
Claims              A Proof of Claim is a signed statement describing a creditor's claim. PLEASE USE THE CLAIM FORM ON THE
                    NEXT PAGE!! A secured creditor retains rights in its collateral regardless of whether that creditor files a Proof of
                    Claim. If you do not file a Proof of Claim by the "Deadline to File a Proof of Claim" listed on the front side, you
                    might not be paid any money on your claim against the debtor in the bankruptcy case. To be paid you must file a
                    Proof of Claim even if your claim is listed in the schedules filed by the debtor. Filing a Proof of Claim submits the
                    creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a
                    secured creditor who files a Proof of Claim may surrender important nonmonetary rights, including the right to a
                    jury trial. Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the
                    front of this notice apply to all creditors. If this notice is mailed to a creditor at a foreign address, the creditor may
                    file a motion requesting the court to extend the deadline.
Discharge of        The debtor is seeking a discharge of most debts, which may include your debt. A discharge means you may
Debts               never try to collect the debt from the debtor. If you believe that the debtor is not entitled to a discharge under
                    Bankruptcy Code §1328(f), you must file a motion objecting to discharge in the bankruptcy clerk's office by the
                    "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain Debts" listed on the
                    front of this form. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2)
                    or (4), you must file a complaint in the bankruptcy clerk's office by the same deadline. The bankruptcy clerk's
                    office must receive the motion or the complaint and any required filing fee by that deadline.
Exempt Property     The debtor is permitted by law to keep certain property as exempt. Fully exempt property will not be sold and
                    distributed to creditors, even if the debtor's case is converted to Chapter 7. The debtor must file a list of all
                    property claimed as exempt. You may inspect that list at the bankruptcy clerk's office. If you believe that an
                    exemption claimed by the debtor is not authorized by law, you may file an objection to that exemption. The
                    bankruptcy clerk's office must receive that objection by the "Deadline to Object to Exemptions" listed on the front
                    side.
Bankruptcy Court Any PAPER document that you file in this bankruptcy case must be filed at:
Clerk's Office
(Document Filing, U.S. Bankruptcy Court   Phone: 503−326−1500          Office Hours: 9:00AM−4:30PM
and Copies)       1001 SW 5th Ave #700
                  Portland, OR 97204
                  (Important Note: The Meeting of Creditors is NOT held at this address!)
                    You may inspect all filed documents, including the list of the debtor's property and debts and the list of the
                    property claimed as exempt, at the bankruptcy clerk's office. A deputy clerk will make copies of paper documents
                    for 50¢ a page (e.g., Schedules average $10). If the document is available as an electronic image, then you may
                    make copies for 10¢ per page using a public access terminal at either court office. Written requests for copies of
                    court documents must include a self addressed and stamped 9" x 12" envelope, a $26 search fee and the
                    appropriate copy fee.
Internet Access,    Court, and most case information, may also be accessed via the court's website at www.orb.uscourts.gov. For
Information and     account numbers, etc. contact the debtor's attorney. Contact your OWN attorney with other questions and to
Legal Advice        protect your rights. The clerk's office staff is forbidden by law from giving legal advice!
Creditor with a     Consult a lawyer familiar with United States bankruptcy law if you have questions about your rights in this case.
Foreign Address
                     −− Refer to Other Side for Important Deadlines and Notices −−



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